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AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                        Case Number: 7:16-po-02556
Luis Nabor AGUILAR-Rubio
IAE A094 935 491
Mexico 1987


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about            April 26, 2016        in           Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Luis Nabor AGUILAR-Rubio was encountered by Border Patrol Agents near Roma, Texas on April
26, 2016. When questioned as to his citizenship, defendant stated that he was a citizen and national
of the United Mexican States, who had entered the United States illegally on April 26, 2016 by rafting
across the Rio Grande River near the Roma, Texas Port of Entry.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                         /S/ Armendariz Jr, Francisco Border Patrol Agent
                                                                         Signature of Complainant
                                                                         Armendariz Jr, Francisco Border Patrol Agent
                                                                         Printed Name of Complainant
Sworn to before me and signed in my presence,
April 27, 2016                                                   at     McAllen, Texas
Date                                                                    City/State

Peter E Ormsby                       U.S. Magistrate Judge
       Name of Judge                     Title of Judge                                 Signature of Judge
